| 1
eee Case 2:04-cv-73235-LPZ- SDP ECF No. 11, PagelD.110 Filed Osa? OO S'O0 Ol709R

(, (
Court of Appeals, State of Michigan |
ORDER
Mark J. Cavanagh
People of MI v Richard Allen McBrayer Presiding Judge
Docket No. 204288 Donald E, Holbrock, Jr.
LC No. 93-002894 FC Richard Allen Griffin

Judges

 

The Court orders that the delayed application for leave to appeal is DENIED
for lack of merit in the grounds presented.

fL ER
MAR 14 2005 |

CLERK’S OFFICE
DETROIT

Original]
Document
Placed on Shelf

 

 

A true copy entered and certified by Carl L. Gromek, Chief Clerk, on

Bichard A McBrayer vy, Hugh Welfenbarger
OSBC ES 04-C4-73235-Dt
HONORABLE LAWRENCE P. ZATKOFE

APR G8 1998 ne f <F A !

Date Chief Clerk

 

 

 

 
